 Case 14-31229-sgj15            Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53          Desc
                                  Main Document    Page 1 of 10



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as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 In re:                                               Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                    Debtor in a Foreign Proceeding.


                         MOTION TO CONTINUE BRIEFING DEADLINE

          Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and foreign representative

(the “Foreign Representative”) of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), a debtor in

a bankruptcy proceeding under Japanese law (the “Japan Bankruptcy”), currently pending before

the Twentieth Civil Division of the Tokyo District Court, Japan (the “Tokyo Court”), by his




Gardere01 - 6444197v.1
 Case 14-31229-sgj15            Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53                Desc
                                  Main Document    Page 2 of 10



undersigned U.S. counsel, hereby moves (the “Motion”) to adjourn sine die the deadline by

which any interested party may submit a letter brief on the issue of the scope of the automatic

stay under Japanese bankruptcy law (the “Stay Briefs”), which is currently set for April 29, 2014

at noon (prevailing Central Time).          In support of the Motion, the Foreign Representative

respectfully states as follows:

                                     JURISDICTION AND VENUE

          1.        This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

          2.        Venue for this proceeding is proper before this Court pursuant to 28 U.S.C. §

1410.

                                            BACKGROUND

          3.        On February 28, 2014, the Debtor, through its prior foreign representative, Mr.

Robert Marie Mark Karpeles, filed a petition (the “Japan Petition”) for the commencement of a

civil rehabilitation proceeding (the “Japan Civil Rehabilitation”) in the Tokyo Court pursuant to

Article 17(1) of the Japanese Corporate Reorganization Act (Kaisha Kosei Ho) (the “JCRA”).

          4.        On March 9, 2014, the Debtor filed a voluntary petition for relief under chapter 15

of title 11 of the United States Code (the “Bankruptcy Code”) with the United States Bankruptcy

Court for the Northern District of Texas, Dallas Division (the “Court”), under the above-

captioned case number 14-31229-sgj-15 (the “Chapter 15 Case”) and filed its Verified Petition

for Recognition and Chapter 15 Relief [Docket No. 2] (the “Recognition Petition”).

          5.        On March 10, 2014, the Debtor filed the Emergency Application for an Order

Granting Provisional Relief Pursuant to Section 105(a) and 1519 of the Bankruptcy Code,

Scheduling Recognition Hearing, and Specifying Form and Manner of Notice [Docket No. 4]

(the “Provisional Relief Application”). On the same day, the Court entered its Order Granting


                                                     2
Gardere01 - 6444197v.1
    Case 14-31229-sgj15          Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53                       Desc
                                   Main Document    Page 3 of 10



Application for Provisional Relief, Scheduling Recognition Hearing, and Specifying Form and

Manner of Notice [Docket No. 13] (the “Provisional Relief Order”), which, among other things,

established a date for the hearing on the Recognition Petition (the “Recognition Hearing”). On

April 15, 2014, the Court entered the Order Adjourning the Recognition Hearing and Granting

Emergency Motion to Approve Notice Procedures [Docket No. 83], which, among other things,

adjourned the Recognition hearing to May 20, 2014 at 9:30 a.m.

          6.        On March 25, 2014, Gregory D. Greene and Joseph Lack, plaintiffs in the U.S.

Litigation Matters,1 filed their Motion for Termination of Provisional Relief [Docket No. 37] (the

“Motion to Terminate”). At a status conference held on April 1, 2014, the Court adjourned the

hearing on the Motion to Terminate (the “Termination Hearing”) to May 6, 2014 at 9:30 a.m.

See Notice of Hearing [Docket No. 67].

          7.        On March 25, 2014, Mr. Greene and Mr. Lack also filed their Motion for an

Order Pursuant to Bankruptcy Rule 2004 Compelling Deposition Testimony in the United States

From the Foreign Representative [Docket No. 39] (the “Motion to Compel”). Importantly, the

Motion to Compel was directed at deposing the Debtor’s former foreign representative, Mr.

Robert Marie Mark Karpeles, who has since been replaced by Mr. Kobayashi as the Debtor’s

foreign representative, as further explained below.

          8.        On April 4, 2014, following a hearing on the Motion to Compel, the Court entered

the Order Granting, With Modifications, the Motion of Creditors Gregory Greene and Joseph

Lack for Order Compelling Deposition Testimony in the United States From the Foreign

Representative [Docket No. 72] (the “Deposition Order”). Pursuant to the Deposition Order, the

deposition of Mr. Karpeles (the “Karpeles Deposition”) was scheduled for April 17, 2014 in

Dallas, Texas.

1     The U.S. Litigation Matters are (i) CoinLab, Inc. v. Mt. Gox KK, et al., Case No. 2:13-cv-0777 (W.D. Wash.
      May 2, 2013) and (ii) Greene v. MtGox Inc., et al., Case No. 1:14-cv-01437 (N.D. Ill. Feb. 27, 2014).

                                                        3
Gardere01 - 6444197v.1
 Case 14-31229-sgj15            Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53           Desc
                                  Main Document    Page 4 of 10



          9.        On April 14, 2014, the Debtor filed its Emergency Motion for Continuance of

Deposition (the “Motion for Continuance”) [Docket No. 76], seeking, among other things, a

continuance of the Karpeles Deposition from April 17, 2014 to May 5, 2014, or such other date

as agreed to among the parties.

          10.       On April 16, 2014, the Tokyo Court entered judgments (the “Japan April 16

Judgments”) as follows: (a) dismissing the Japan Petition; (b) ordering administration of the

Debtor’s assets by Mr. Kobayashi, in the capacity of a provisional administrator; (c) prohibiting

certain actions by creditors with regard to properties of the Debtor during the interim period

following the dismissal and prior to the commencement of a bankruptcy procedure for the Debtor

(the “Japan Bankruptcy”); and (d) prohibiting Mr. Kobayashi, in his capacity as the provisional

administrator, from undertaking certain actions with respect to the Debtor’s debt, properties, and

claims.

          11.       On April 16, 2014, the Bankruptcy Court held a status conference and a hearing

on the Motion for Continuance.

          12.       On April 17, 2014, the Court entered the Order Granting Continuance of

Deposition [Docket No. 90] (the “Continuance Order”). Pursuant to the Continuance Order, the

Court scheduled a status conference (the “Status Conference”) for April 24, 2014 at 9:30 a.m. or

at such date and time shortly thereafter when the Foreign Representative can attend

telephonically. In addition, the Court ordered that any interested party may submit a Stay Brief

so that such Stay Briefs are submitted to the Court by noon on the day immediately preceding the

date of the Status Conference. The First Continuance Order also ordered the parties to meet and

confer to develop a proposed schedule for matters in this Chapter 15 case.

          13.       On April 22, 2014, the Debtor filed the Motion to Adjourn and Reset Status

Conference [Docket No. 98] (the “Adjournment Motion”), seeking (a) to adjourn and reset the


                                                   4
Gardere01 - 6444197v.1
    Case 14-31229-sgj15           Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53                           Desc
                                    Main Document    Page 5 of 10



Status Conference to April 30, 2014 at 9:30 a.m. and (b) to extend the deadline for submitting the

Stay Briefs. The Adjournment Motion was agreed to by all parties present at the April 16, 2014

status conference (the “Status Conference Parties”).

          14.       On April 23, 2014, the Court entered the Order Granting Adjournment and

Resetting of Status Conference [Docket No. 99] (the “Adjournment Order”). Pursuant to the

Adjournment Order, the Status Conference was adjourned to April 30, 2014 at 9:30 a.m.

(prevailing Central Time) and the deadline to submit the Stay Briefs was extended to April 29,

2014 at noon (prevailing Central Time).

          15.       On April 24, 2014, the Tokyo Court entered an order formally commencing the

Debtor’s Japan Bankruptcy and appointing Mr. Kobayashi as bankruptcy trustee (the “Japan

Bankruptcy Order”). A copy of the Bankruptcy Order and its English translation are attached

hereto as Exhibit A.2

          16.       Following entry of the Japan April 16 Judgments, the Foreign Representative

retained Brown Rudnick LLP and Gardere Wynne Sewell LLP to represent the Foreign

Representative in this Chapter 15 case and, on April 25, 2014, those firms filed notices of

appearance in this Chapter 15 case. See Docket Nos. 102 and 103.

          17.       On April 25, 2014, the Status Conference Parties met and conferred (the “Meet

and Confer”) regarding the status of this Chapter 15 case in light of the entry of the Japan

Bankruptcy Order and other changed circumstances described above, including the transition of

the Japanese proceeding from a Japan Civil Rehabilitation to a Japan Bankruptcy and the

appointment of Mr. Kobayashi as the bankruptcy trustee for the Debtor. The Status Conference




2         The Foreign Representative, through his U.S. counsel, will shortly be filing a notice, pursuant to 11 U.S.C.
          § 1518, regarding the change in status of the foreign proceeding and the foreign representative’s
          appointment.

                                                          5
Gardere01 - 6444197v.1
 Case 14-31229-sgj15            Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53              Desc
                                  Main Document    Page 6 of 10



Parties have all agreed that as a result of these changed circumstances, the Stay Briefs are no

longer necessary at this time.

                                        RELIEF REQUESTED

          18.       Thus, by this Motion, the Foreign Representative respectfully seeks entry of an

order, substantially in the form attached hereto as Exhibit A, adjourning sine die the deadline by

which any interested party may submit a Stay Brief on the issue of the scope of the automatic

stay under Japanese law.

                                 CERTIFICATE OF CONFERENCE

          19.       On April 25, 2014, counsel to the Foreign Representative, through his U.S.

counsel, facilitated the Meet and Confer with all Status Conference Parties regarding the status

of this Chapter 15 case.

          20.       At the Meet and Confer, the Status Conference Parties agreed that the Stay Briefs

were no longer necessary at this time and also agreed to confer regarding a revised scheduling

order (the “New Scheduling Order”) for this Chapter 15 case in light of the changed

circumstances described above.          The Status Conference Parties intend to address the New

Scheduling Order at the Status Conference scheduled for April 30, 2014.

          21.       Counsel for the Foreign Representative has conferred with counsel for plaintiffs

Gregory Greene and Joseph Lack and counsel for CoinLab, Inc. and was advised that they were

not opposed to this Motion.

          22.       Counsel for the Foreign Representative also contacted the U.S. Trustee’s

attorney’s office to discuss the relief requested in this Motion. The U.S. Trustee’s attorney in

charge of this case was not available to discuss the relief requested in this Motion. So the U.S.

Trustee’s attorney’s office could not comment on the relief requested in the Motion.




                                                    6
Gardere01 - 6444197v.1
 Case 14-31229-sgj15         Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53             Desc
                               Main Document    Page 7 of 10



                                         CONCLUSION

          WHEREFORE, the Foreign Representative respectfully requests that this Court grant the

Motion and enter an order, substantially in the form attached hereto as Exhibit A, (a) adjourning

sine die the deadline by which any interested party may submit a Stay Brief on the issue of the

scope of the automatic stay under Japanese law, and (b) granting the Foreign Representative such

other and further relief as the Court deems just and proper.


Dated:      Dallas, Texas                       GARDERE WYNNE SEWELL LLP
            April 28, 2014

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                                                 7
Gardere01 - 6444197v.1
 Case 14-31229-sgj15     Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53   Desc
                           Main Document    Page 8 of 10




                                 Exhibit A:
                               Proposed Order




Gardere01 - 6444197v.1
 Case 14-31229-sgj15               Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53                            Desc
                                     Main Document    Page 9 of 10




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


 In re:                                                           Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                                Case No. 14-31229-sgj-15

                    Debtor in a Foreign Proceeding.


                ORDER GRANTING CONTINUANCE OF BRIEFING DEADLINE

          Upon the Foreign Representative’s Motion to Continue Briefing Deadline [Docket No. ]

(the “Motion”),1 seeking to adjourn sine die the deadline by which any interested party may

submit a letter brief on the issue of the scope of the automatic stay under Japanese bankruptcy

law, which is currently set for April 29, 2014 at noon (prevailing Central Time), to a later date to

be determined; and the Court having determined that the relief requested in the Motion is in the

best interests of the Debtor, its estate, its creditors, and other parties in interest; and it appearing

that proper and adequate notice of the Motion has been given and that no other or further notice




1 Capitalized   terms referred to but not defined herein shall have the meanings ascribed to them in the Motion.


Gardere01 - 6444197v.1
 Case 14-31229-sgj15            Doc 107 Filed 04/28/14 Entered 04/28/14 11:35:53               Desc
                                 Main Document     Page 10 of 10



is necessary; and upon the record herein; and after due deliberation thereon; and good and

sufficient cause appearing therefore, it is hereby

          ORDERED, ADJUDGED AND DECREED that:

          1.        The Motion is GRANTED.

          2.        The deadline for submission of the Stay Briefs is hereby adjourned sine die.

                                       # # # END OF ORDER # # #

Prepared and Submitted by:

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Gardere01 - 6444197v.1
